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                                                                             Juror ID: __________


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      20 Cr. 330 (AJN)
                                                                       :
GHISLAINE MAXWELL,                                                     :   JURY QUESTIONNAIRE
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


                                   PRELIMINARY INSTRUCTIONS

Please read the following instructions carefully before completing any portion of this
questionnaire. Please print your juror number in the space provided at the top of each page. Do
not write your name on the questionnaire. Please answer each and every question fully. Some             Commented [A1]: DEFENDANT OBJECTION: As discussed
                                                                                                        below, the defendant believes that background information on each
questions have more than one part.                                                                      juror should be included on this questionnaire, as the Government
                                                                                                        has proposed to do in the written questionnaire in each of the most
YOU ARE SWORN TO GIVE TRUE AND COMPLETE ANSWERS TO ALL                                                  recent high-profile trials.

QUESTIONS IN THIS QUESTIONNAIRE. This questionnaire is designed to help simplify
and shorten the jury selection process. The purpose of the questionnaire is to determine whether
prospective jurors can decide this case impartially based upon the evidence presented at trial and
the legal instructions given by the presiding judge. The questions are not intended to inquire
unnecessarily into personal matters. Although some of the questions may appear to be of a
personal nature, please understand that the Court and the parties must learn enough information
about each juror’s background and experiences to select a fair and impartial jury.

Please answer all questions to the best of your ability. If you do not know the answer to a question
then write, “I don’t know.” There are no “right” or “wrong” answers, only truthful answers. If
you have strong feelings about this case in general, please do not hesitate to share them. Although
you may be a perfectly good juror in another case, this may or may not be the right case for you to
sit on as an impartial juror. Both parties have the right to get honest answers and to hear your true
opinions. Do not discuss the case or your answers with anyone. It is important that the answers
be yours alone. Remember, you are sworn to give true and complete answers to all questions.

If you need extra space to answer any question, please use the extra blank sheets of paper included
at the end of the questionnaire. Be sure to indicate on the blank page the number of the question
you are answering. Do not write anything on the back of any page.

DO NOT DISCUSS YOUR QUESTIONS AND ANSWERS OR THE CASE WITH
ANYONE, NOW OR UNTIL FURTHER INSTRUCTED BY THE COURT. You should not
discuss the questions or answers with fellow jurors. It is very important that your answers be your
own individual answers. More broadly, do not discuss the case with anyone, including the lawyers


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(except in the presence of the Court), your fellow jurors, your family, your friends, or anyone else.
Do not communicate about the case in any way, including telephone, e-mail, any social media app
or website (such as Facebook), any communications app or website (such as Twitter). You must
also avoid reading or hearing about the case (or anyone participating in the case) in newspapers,
in magazines, on the radio or television, or on the Internet.

DO NOT DO YOUR OWN RESEARCH ON THE CASE. Do not conduct any research into
the case (or anyone participating in the case) at any time before your entire jury service has been
completed. That includes performing Internet searches, asking other people about the case,
reading news stories, books, or reports about the case, or watching films or television programs
that relate to the case. Do not read, watch, or listen to any information about this case.

If you believe that any of your answers contain private information that could embarrass you or
otherwise seriously compromise your privacy and wish to request that the Court keep them
confidential and not distribute them beyond the judge and counsel, you may indicate that on one
of the blank pages at the end of this form. (Please identify the specific answer or answers that you
believe should remain confidential.) After a jury has been selected, all copies of your responses
to the questionnaire will be returned to the Court.

                                  SUMMARY OF THE CASE

The Court is selecting a jury for a trial commencing on Monday, November 29, 2021.
Although it is never possible to predict the length of a trial, currently this trial is expected to
last approximately [ ] weeks.                                                                           Commented [A2]: The parties will submit a joint letter to the
                                                                                                        Court on October 12, 2021 providing an estimate of the trial length.

This is a criminal case. The defendant, Ghislaine Maxwell, has been charged in an indictment
with various criminal offenses. The indictment is not evidence. It simply contains the charges—
referred to as “counts”—that the Government intends to prove to the jury at trial beyond a
reasonable doubt.

The charges in the Indictment stem from allegations that from at least 1994 through 2004, the
defendant conspired with and aided and abetted Jeffrey Epstein to entice minors to travel to engage
in criminal sexual activity, to transport minors to engage in criminal sexual activity and to engage
in sex trafficking of a minor.

The Indictment charges the defendant in 6 counts: Count One of the Indictment charges the
defendant with conspiring with Jeffrey Epstein and others to entice minors to travel to engage in
sexual activity for which a person can be charged with a criminal offense. Count Two charges the
defendant with enticing a minor to travel to engage in sexual activity for which a person can be
charged with a criminal offense, and aiding and abetting the same. Count Three charges the
defendant with conspiring with Epstein and others to transport minors to engage in sexual activity
for which a person can be charged with a criminal offense. Count Four charges the defendant with
transporting a minor to engage in sexual activity for which a person can be charged with a criminal
offense, and aiding and abetting the same. Count Five charges the defendant with participating in
a sex trafficking conspiracy. Count Six charges the defendant with sex trafficking of a minor, and
aiding and abetting the same.



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Ms. Maxwell has pled not guilty to all charges. Ms. Maxwell is presumed innocent, and before
she can be found guilty on any charge, the jury must find that the Government has proven each
element of that crime beyond a reasonable doubt.

              (Please turn the page and read and complete the questionnaire.)




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                                                                      Juror ID: __________


                    PLEASE ANSWER THE FOLLOWING QUESTIONS:

                                       BACKGROUND                                               Commented [A3]: GOVERNMENT OBJECTION: The
                                                                                                defendant has proposed the language in green color font in this
                                                                                                questionnaire. The Government objects to the questions seeking
Name:_______________________________________________                                            personal information in this “Background” section. The
                                                                                                Government does not believe these questions should be included in
Title    □    Dr.          □    Mr.    □    Mrs.        □   Ms.   □    Miss                     the written questionnaire, because these questions will not reveal any
                                                                                                bias or otherwise provide a basis for a for-cause challenge, which the
                                                                                                Government understands to be the purpose of the questionnaire, as a
Age: __________                                                                                 way to expedite jury selection. Rather, the Government submits that
                                                                                                any background questions should be asked during the oral voir dire,
Sex/Gender Identity: ______________                                                             along with biographical questions. Moreover, the Government
                                                                                                objects to the level of detail in these background questions as unduly
Your place of birth: ______________                                                             invasive of jurors and inconsistent with the Court’s August 27, 2021
                                                                                                Order for a “streamlined questionnaire.” (Dkt. 330). To the extent
                                                                                                the Court includes background biographical questions in the written
Residence:                                                                                      questionnaire, the Government proposes that they be limited in
County________________City/Town___________________Neighborhood__________________                nature and number to avoid identifying potential jurors.
                                                                                                Commented [A4R3]: DEFENDANT: The defense proposes
How long have you lived in that area? ____________________________                              that these questions should be more appropriately asked in the
                                                                                                questionnaire rather than voir dire. The Government objects but it
What is your marital status?   □ Single □ Married □ Separated □ Divorced □ Widowed              was the Government, in the most recent high-profile federal cases,
                                                                                                who included the very same background information questions in
□ Live with domestic partner/significant other                                                  the written questionnaire. See United States v. Elizabeth Holmes
                                                                                                (Theranos), 18 Cr. 258 (EDJ) (N.D. Cal.); United States v. Robert
                                                                                                Kelly, 19 Cr. 286 (AMD) (EDNY); United States v. Keith Rainier

Any prior marriages?   □ Yes □ No                           If Yes, how many? _________
                                                                                                (Nxvim), 18 Cr. 204 (NGG) (EDNY).

                                                                                                In addition to saving immense time, it provides a good-faith
                                                                                                foundation for conducting research on the jurors to
What is your current job status? (please check)                                                 confirm truthfulness and/or uncover bias. In addition, the verdict in
                                                                                                one of longest financial fraud trials in SDNY was overturned due to
                                                                                                jury deceit. See United States v. Daugerdas, 867 F.Supp.2d 445
□ Employed full-time      □ Employed part-time □ Self-employed □ Homemaker                      (SDNY 2012).


                                                                                                Commented [A5R3]: GOVERNMENT RESPONSE: As noted
□ Unemployed/laid-off □ Disabled              □ Retired                                         above, the Government does not believe these questions should be
                                                                                                included in the written questionnaire because these questions will
                                                                                                not provide a basis for a for-cause challenge. The Government
□ Full-time student (please state area of study)________________________________________        further submits that potential jurors should not write down their
                                                                                                names on the written questionnaire. The defendant cites no case for
                                                                                                the proposition that the defense has a right to an extended period of
□ Other (please describe)_________________________________________________________              time to research potential jurors. That is not the law. “[T]he
                                                                                                purpose of the voir dire is to ascertain disqualifications, not to afford
                                                                                                individual analysis in depth to permit a party to choose a jury that
                                                                                                fits into some mold that he believes appropriate for his
What is your occupation? (If you are not currently employed, please describe your most recent   case.” United States v. Barnes, 604 F.2d 121, 138 (2d Cir. 1979)
                                                                                                (citations omitted). “[S]o long as the court conducts a careful voir
prior employment.)                                                                              dire designed to uncover any bias as to the issues or the defendants,”
_______________________________________________________________________________                 the defendants’ rights are not infringed. United States v. Aulicino,
                                                                                                44 F.3d 1102, 1116 (2d Cir. 1995).

By whom are (were) you employed? _________________________________________________

How long have you worked (did you work) there? _______________________________________




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Do (did) you supervise other people?   □ Yes □ No
Please briefly describe what your management and/or supervisory responsibilities have
entailed:

_______________________________________________________________________________

If you have held any other occupations in the past five years, please identify them here:

________________________________________________________________________________

What is the highest level of education you have completed?

□ Less than high school      □ High school graduate □ Some college/vocational training
□ College graduate. If so, please indicate degree and/or field of study:
___________________________

□ Post-graduate degree.
                     If so, please indicate degree and/or field of study:
_______________________

Please list all educational institutions you have attended, beginning with high school:
_______________________________________________________________________________

_______________________________________________________________________________

Please complete the following questions regarding your present spouse or domestic
partner/significant other. If you are divorced, widowed, or separated, please answer the
following questions regarding your former spouse, partner or significant other’s employment:

What is his or her current employment status?

□ Employed full-time       □ Employed part-time           □ Self-employed □ Homemaker
□ Unemployed/laid-off □ Disabled            □ Retired
□ Full-time student (please state area of study)_________________________________________
□ Other (please describe)__________________________________________________________
What is his or her occupation (or what was it, if he or she is no longer employed)?
_______________________________________________________________________________

By whom is (was) he or she employed?_______________________________________________




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How long has (did) he or she work there? ____________________

What are (were) his or her specific duties at the job? _____________________________________
Does he or she supervise other people?      □ Yes □ No
Do you have any children, including step-children?    □ Yes □ No
If YES, please list the following for each: (Please include children you are currently raising
or have ever raised even if they are not your biological children.)

   Gender      Age       Child Living        Highest Level of Education        Occupation/School Level
                          with You                                              (Do NOT list names of
                                                                                 employers or schools)
                        □   Yes   □   No
                        □   Yes   □   No
                        □   Yes   □   No
                        □   Yes   □   No
                        □   Yes   □   No
                        □   Yes   □   No


What are your hobbies, major interests, recreational pastimes and spare time activities and
sports?________________________________________________________________________

What are your spouse/domestic partner/significant other’s hobbies, major interests, recreational
pastimes and spare time activities and
sports?_________________________________________________________________________

_______________________________________________________________________________

Please list any groups and/or organizations to which you belong (for example, religious groups,
professional organizations, volunteer activities, victim’s rights groups, etc.):

_______________________________________________________________________________

If you have ever been a published or unpublished author, please describe the things you have
written and when you wrote
them:___________________________________________________________________________




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                                                                     Juror ID: __________


When in a group trying to make a decision, do you usually:                                             Commented [A6]: GOVERNMENT OBJECTION: The
                                                                                                       Government objects to this question on the grounds that it is vague,
                                                                                                       and will not provide a basis for a for-cause challenge.
□ Strongly express your views to get the outcome you believe is best
□ Participate in the discussion and try to help build a consensus
□ Listen and follow what you think the majority favors
□ Other (please describe) __________________________________________________________
Do you have any strong views regarding people who are wealthy?         □ Yes □ No
If Yes, please explain:
_________________________________________________________________

Do you have any strong views regarding people who have luxurious lifestyles?       □ Yes □             Commented [A7]: GOVERNMENT OBJECTION: The
                                                                                                       Government objects to these questions as vague and duplicative, and
No                                                                                                     not framed in a way that would provide a basis for a for-cause
                                                                                                       challenge.
If Yes, please explain:
_________________________________________________________________



Potential jurors will be called back for further questioning and jury selection from Tuesday,
November 16, 2021 through Friday, November 19, 2021. The trial will commence on
Monday, November 29, 2021. Generally, trial will be held five days per week, Monday
through Friday, from 9:30 a.m. until 5:00 p.m. The Court will not sit on federal holidays,
including on Christmas Day (Friday, December 24, 2021). The trial is expected to last about
[ ] weeks.                                                                                             Commented [A8]: The parties will submit a joint letter to the
                                                                                                       Court on October 12, 2021 providing an estimate of the trial length.

If you are selected as a juror, you will be required to be present for the taking of testimony and
evidence for as long as the trial lasts. There are no plans to sequester the jury, which means you
will go home every day after court.

All jury service involves some degree of hardship. Our court and justice system depends on
citizens doing their civic duty to serve as jurors which involves temporarily putting aside their
regular business for jury service. The Court views service on a jury to be one of the highest duties
a citizen owes to the United States. Mere inconvenience or the usual financial hardship of jury
service will not be sufficient to excuse a prospective juror. You must show extraordinary personal
or financial hardship to be excused from service.

 1.   Do any circumstances exist such that serving on the jury in this case would entail serious
      hardship or extreme inconvenience?
                             □ Yes                          □ No




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     If yes, please briefly describe the undue hardship or extreme inconvenience:




     Please note: In the event you are excused from service on this jury, you will not be excused
     from jury service in general. You will instead be required to report to the Court’s Jury Clerk
     for placement on another panel for another case.
2.   Do you have any personal commitments that would make it difficult for you to get to court
     by 9:30 a.m., every day of trial, or remain at the courthouse until [5:30 p.m.]?

                               □ Yes                       □ No

     If yes, please explain why you would be unable to get to court by 9:30 a.m. or remain until
     [5:30 p.m.]:




3.   Do you have any difficulty reading, speaking, or understanding English?
                               □ Yes                       □ No
4.   Do you have any medical, physical, or mental condition or illness that makes you unable to
     serve on a jury, including difficulty hearing, seeing, reading, or concentrating?
                               □ Yes                       □ No
     If yes, please briefly describe the condition or illness. If you believe you could serve as a
     juror if such condition were accommodated in some way, please state the accommodation.




5.   Are you taking any medication which would prevent you from giving full attention to all the
     evidence at this trial?
                               □ Yes                       □ No
     If yes, please explain:




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6.   Do you have any pre-paid travel plans between November 29, 2021 and January 15, 2022?
                               □ Yes                       □ No
     If yes, please describe your plans and the dates of travel (without indicating the name of
     where you work or the names of any family members or friends, or other personal
     information that might identify who you are):



            ____________________________________________________________
     Do you have any holiday plans for the period December 24th through January 3rd?               Commented [A9]: GOVERNMENT OBJECTION: The
                                                                                                   Government objects to this question on the grounds that the question
                                                                                                   is duplicative of questions 6 and 7.
                               □ Yes                      □ No
                                                                                                   Commented [A10R9]: DEFENDANT RESPONSE: There are
                                                                                                   a number of "plans" for the holidays that do not involve either travel
7.   Do you have any appointments during the next [ ] weeks that cannot be changed?                or appointments, about which certain jurors may have strong
                                                                                                   opinions about missing.
                               □ Yes                      □ No                                     Commented [A11]: The parties will submit a joint letter to the
                                                                                                   Court on October 12, 2021 providing an estimate of the trial length.
     If yes, please explain:




     Have you received a vaccine for COVID-19?                □ Yes                       □ No     Commented [A12]: The defendant proposes the questions
                                                                                                   relating to COVID-19. The Government takes no position.
     If Yes, when did you receive the vaccine? _______________________________________


     In light of the COVID-19 pandemic, do you have concerns about your ability to
     concentrate at trial, consider all the evidence, and make a conscientious decision in
     deliberation?
                    □ Yes                            □ No

     If yes, would courtroom precautions (ex. the use of air filters, use of a larger courtroom)
     alleviate your concerns?
     Is there any reason relating to the COVID-19 pandemic that would make jury service an
     undue hardship for you or anyone in your household? □ Yes
             □ No

     If yes, please explain. _______________________________________________________

     Is there anything else going on in your life or work that would prevent you from
     giving this case your full attention for the duration of trial? □ Yes       □ No
     If yes, please explain. _______________________________________________________




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                                                                    Juror ID: __________




8.   Do you or does any member of your family or a close friend personally know or have past or
     present dealings with any of the following individuals?
        a. The defendant in this case, Ghislaine Maxwell, or her family members

                             □ Yes                         □ No

        b. Jeffrey Epstein

                             □ Yes                         □ No

        c. The U.S. Attorney for the Southern District of New York, Damian Williams, or
           anyone else who works for or used to work for the U.S. Attorney’s Office for the
           Southern District of New York?

                             □ Yes                         □ No

        d. Any of the Assistant United States Attorneys who are prosecuting this case:

                Maurene Comey               □   Yes        □   No
                Alison Moe                  □   Yes        □   No
                Lara Pomerantz              □   Yes        □   No
                Andrew Rohrbach             □   Yes        □   No

        e. Any of the defense attorneys or law firms who are representing the defendant:

                Christian Everdell of Cohen & Gresser LLP                    □   Yes      □   No
                Jeffrey Pagliuca of Haddon, Morgan and Foreman, P.C.         □   Yes      □   No
                Laura Menninger of Haddon, Morgan and Foreman, P.C.          □   Yes      □   No
                Bobbi Sternheim of Law Offices of Bobbi C. Sternheim         □   Yes      □   No

        f. The United States District Court Judge who is presiding over this case, Alison J.
           Nathan, or anyone who works on her staff?

                             □ Yes                         □ No

     If you answered “yes” to any of the above sub-questions (8.a, 8.b, 8.c, 8.d, 8.e, or 8.f), please
     explain whom you know, how you know the individual(s), and whether your relationship
     with that person might make it difficult for you to be a fair and impartial juror in this case:

                                                                                           _____




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                      CHARGES AND INDIVIDUALS INVOLVED                                          Commented [A13]: GOVERNMENT OBJECTION: The
                                                                                                Government objects to the “Charges & Individuals Involved” section
                                                                                                proposed by the defendant on the grounds that it is duplicative of the
       The indictment alleges that Ghislaine Maxwell conspired with Jeffrey Epstein and did     questions proposed by the Government. In particular, the first
                                                                                                question is duplicative of questions above and is argumentative and
entice minor females to travel to engage in illegal sex acts, transported a minor female to     inappropriate.
engage in criminal sexual activity, and engaged in sex trafficking of a minor.
                                                                                                Commented [A14R13]: DEFENDANT RESPONSE: The
                                                                                                Government has not identified which questions they believe are
        The indictment is not evidence; it is a formal way of charging a person with a crime    duplicative. The first question, pertaining to the number of charges,
                                                                                                does not appear to be duplicated in any Government-proposed
in order to bring her to trial. Ms. Maxwell has pleaded not guilty. She is presumed innocent.   question.
Unless the government proves that she is guilty of these charges beyond a reasonable doubt,
                                                                                                The Second Circuit has specifically approved discussion pf the
the jury must return a verdict of not guilty.                                                   presumption of innocence in jury selection. See United States v.
                                                                                                Velez-Vasquez, 116 F.3d 58, 61 (2d Cir. 1997) (upholding
                                                                                                conviction where judge forgot to instruct on presumption of
Would the fact that Ms. Maxwell faces a number of charges lead you to believe that she must     innocence in closing instructions where the concept had been
be guilty of something?                                                                         discussed during voir dire).


                       □ Yes                         □ No

If yes, please explain:
__________________________________________________________________________
__________________________________________________________________________

Please indicate if you ever had any connection with any of the following?

       Palm Beach County (Florida) Police Department                 □ Yes   □ No
       Federal Bureau of Investigations                              □ Yes   □ No
       U.S. Attorney’s Office -Southern District of Florida          □ Yes   □ No               Commented [A15]: GOVERNMENT OBJECTION: The
                                                                                                Government objects to any references to the Southern District of

       U.S. Attorney’s Office- Southern District of New York         □ Yes   □ No               Florida at this trial. The U.S. Attorney’s Office for the Southern
                                                                                                District of Florida is not prosecuting this case. As the Government
                                                                                                will address in a motion in limine, references to the USAO-SDFL
       U.S. Department of Justice                                    □ Yes   □ No               are not appropriate at this trial.

If you indicated Yes, please explain your connection:
__________________________________________________________________________
                                                                                                Commented [A16]: GOVERNMENT OBJECTION: The
__________________________________________________________________________                      Government does not believe the questions in the “Experience with
                                                                                                Legal System” section should be included in the written
__________________________________________________________________________                      questionnaire, because these questions will not reveal any bias or
__________________________________________________________________________                      otherwise provide a basis for a for-cause challenge. Rather, the
                                                                                                Government submits that such questions should be asked during the
                                                                                                oral voir dire.
                        EXPERIENCE WITH LEGAL SYSTEM                                            Commented [A17R16]: DEFENDANT RESPONSE: The
                                                                                                defense believes that asking these questions on the questionnaire

Have you ever served as a juror at trial or in a grand jury? □ Yes    □ No                      will save substantial amount of time and will allow the Court (and
                                                                                                potentially parties) to follow up at the time of voir dire. Access to
                                                                                                the information ahead of the voir dire will allow the Court to prepare
If yes, how many times? _________________                                                       to ask individual questions as necessary, some of which may best be
                                                                                                asked outside the presence of other jurors (for example a prospective
                                                                                                juror who previously had a negative experience as a juror).



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Did you serve as a juror in state or federal court? □ Yes       □ No
Were you ever the foreperson of the jury? □ Yes         □ No
If applicable, please briefly describe the case(s) in which you served as a juror using the
following table:
    Criminal or Civil            Type of case                   Did the jury reach a verdict?
                         (e.g., fraud, personal injury, etc.)
                                                                □   Yes   □    No

                                                                □   Yes   □    No

                                                                □   Yes   □    No

                                                                □   Yes   □    No

                                                                □   Yes   □    No


What stands out most to you about your experience as a juror? Please explain

__________________________________________________________________________

Is there anything about that experience that would affect your ability to be a fair and
impartial juror in this case?   □ Yes □ No
Have you, a family member, or someone close to you ever been involved in a civil or
criminal proceeding as a plaintiff (the party suing), defendant (the party being sued), or
potential witness?

□ Yes □ No         If Yes, please explain: ________________________________________

Have you ever been interviewed as a potential witness in any kind of legal proceeding?

□ Yes □ No         If Yes, please explain: ________________________________________

Have you ever testified as a witness at any kind of legal proceeding, including a trial?

□ Yes □ No         If Yes, please explain: ________________________________________

Have you ever testified as an expert witness?

□ Yes □ No         If Yes, please explain and provide area of expertise:___________
__________________________________________________________________________



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                                                              Juror ID: __________



Have you ever filed a criminal complaint?

□ Yes □ No         If Yes, please explain: ___________________________________

Have you ever contacted any prosecutor office: State District Attorney, United States
Attorney’s Office, State Attorney General?
□ Yes □ No     If Yes, please explain the reason?
__________________________________________________________________________
__________________________________________________________________________

Have you ever reported someone for wrongdoing to your employer or a government
agency?
□ Yes □ No         If Yes, please explain: ___________________________________

Other than for a minor traffic citation, have you ever been arrested for, charged with, or
convicted of a crime?
□ Yes □ No         If Yes, please explain: ___________________________________

__________________________________________________________________________
_________________________________________________________________________
                                                                                                 Commented [A18]: GOVERNMENT OBJECTION: The
                                                                                                 Government objects to the “Media Issues” section proposed by the
                                                                                                 defendant on the grounds that it is not streamlined in accordance
                                      MEDIA ISSUES                                               with the Court’s Order. The Government submits that its proposed
                                                                                                 questions ask the jurors what is necessary on the subject but is not as
                                                                                                 unduly burdensome as the defendant’s proposal. Many of the
How much do you rely on the following sources for your news?                                     questions are vague, confusing, and argumentative.
                                                                                                 Commented [A19R18]: DEFENDANT RESPONSE: A critical
                         A lot          Somewhat             Not much               Not at all   purpose of individual voir dire in a high-profile case such as this is
                                                                                                 to ascertain what content the jurors have read and what they think
                                                                                                 they know about the case. The First Circuit's well-reasoned opinion
 Newspapers:                                                                                     in Tsarnaev, currently pending before the U.S. Supreme Court
                                                                                                 explains why. It is insufficient simply to ask the jurors if they think
                                                                                                 they can be fair even after seeing media about the case. See, e.g.,
 Social Media:                                                                                   United States v. Tsarnaev, 968 F.3d 24, (1st Cir. 2020) (failure to ask
                                                                                                 each juror to identify what content they had already read about the
Television:                                                                                      case and to identify what they already thought they knew about the
                                                                                                 case grounds for reversal of death sentence), cert. granted, 141 S.Ct.
                                                                                                 1683 (Mar. 22, 2021), oral argument scheduled (Oct. 13, 2021);
 Radio:                                                                                          Patriarca v. United States, 402 F.2d 314, 318 (1st Cir. 1968) (judge
                                                                                                 must elicit "the kind and degree" of each prospective juror's
                                                                                                 exposure to the case or the parties" if asked by counsel); Smith v.
 Internet:                                                                                       Phillips, 455 U.S. 209, 221-22 (1982) (O'Connor, concurring)
                                                                                                 (prospective juror "may have an interest in concealing [their] own
 Conversations:                                                                                  bias" or "may be unaware of it").

                                                                                                 Further, as in Tsarnaev decision, much of the information shared on
 Other: _____________                                                                            the media about Ms. Maxwell and Mr. Epstein is either inaccurate or
                                                                                                 inadmissible, or pertains to persons and charges not before this jury.
How often do you use or access those sources: □ Daily     □ Occasionally □ Rarely                968 F.3d at 58 ("while the media (social, cable, internet, etc.) gave
                                                                                                 largely factual accounts, some of the coverage included inaccurate or
                                                                                                 inadmissible information — like the details of his un-Miranda-ized
                                                                                                 hospital interview and the opinions of public officials that he should
                                                                                                 die") (citation omitted). It also included a number of individuals'
                                                                                                 personal opinions regarding Ms. Maxwell's guilt.



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Please identify by name (all that apply)

       Newspapers _____________________________________________________
       Online News Sources______________________________________________
       Magazines ______________________________________________________
       Radio stations____________________________________________________
       Television/Cable stations___________________________________________
       Streaming sources (Netflix, Peacock, Amazon, etc.)______________________
       Podcast providers_________________________________________________
       Internet Sites_____________________________________________________
       Social media platform (Facebook, Instagram, Twitter, etc.)
       ____________________________________________________________

Do you belong to any groups on social media (ex. Facebook or WhatsApp groups)?

       □ Yes □ No         If Yes, please list the groups:_____________________________
__________________________________________________________________________

Have you ever posted messages, comments, or opinions on websites/social media, or
blogged?

       □ Yes □ No
If Yes, please describe the websites or social media platforms that you have used; the types
of things you have posted or blogged; and how often you have done it: _________________

__________________________________________________________________________

Do you regularly watch any television shows, movies, dramas, documentaries, or docuseries
(on any video platform) involving criminal investigations, crime solving, or criminal trials?

       □ Yes □ No         If Yes, please identify the shows: __________________________

__________________________________________________________________________

Please indicate your agreement or disagreement with the following:
The media can be trusted to report both sides of controversial issues.
□ Strongly agree □ Agree □ Disagree □ Strongly disagree
Please identify by name any criminal cases have you followed in the media?


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                                                             Juror ID: __________


__________________________________________________________________________
__________________________________________________________________________

       This case has been widely reported in the national and local media. There is nothing
wrong with having heard something about this case. It is important to truthfully and fully
answer all of the following questions.


Before coming here today have you read, seen, or heard anything about:

       Ghislaine Maxwell            □ Yes □ No
       Jeffrey Epstein              □ Yes □ No
       This Case                    □ Yes □ No
How closely have followed any reports about this case, Ghislaine Maxwell or Jeffrey
Epstein?

       □ Very closely □ Somewhat closely □ Not closely □ Not at all
Please indicate the sources from which you have read, seen, heard, or received information
about the case, Ghislaine Maxwell or Jeffrey Epstein? (check all that apply)

       □ Newspapers □ Books □ Magazines □ Television □ Radio
       □ Streaming Sites (Netflix, Peacock, Amazon, etc.) □ Podcasts □ Internet
       □ Social Media □      Chat Rooms □ Court Proceedings      □ Talked with people
       □ Overheard people talking □Other Sources (please list)__________________
Please identify by name anything you read, viewed, or listened to regarding this case, Ms.
Maxwell or Mr. Epstein:

       News articles______________________________________________________
       Books____________________________________________________________
       Television Show____________________________________________________
       Documentaries_____________________________________________________
       Docu-Series_______________________________________________________
       Podcast__________________________________________________________



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     Summarize what you know or have heard about this case, Ghislaine Maxwell or Jeffrey
     Epstein:

     __________________________________________________________________________

     __________________________________________________________________________
     __________________________________________________________________________
     __________________________________________________________________________

     Please respond to the following based upon anything :
     Have you read, seen or heard anything you have read, seen, heard and discussed with family,
     friends, colleagues and co-workers, have you formed any impression or opinion about this
     case?

            □ Yes □ No         If Yes, please state your impressions or opinions:

            ____________________________________________________________________
            ____________________________________________________________________
     Have you personally formed an opinion about Ms. Maxwell’s guilt or innocence as a result
     of anything you have heard, read or seen? □ Yes     □ No
     If Yes, please state summarize your opinion: _____________________________________________
     __________________________________________________________________________
     __________________________________________________________________________

     Have you discussed this case with family, friends, colleagues, or co-workers

         □ Yes □ No If Yes, summarized what was discussed:_____________________
     _________________________________________________
     Have you verbally stated or posted your opinion on social media about Ms. Maxwell or Mr.
     Epstein?
            □ Yes □ No
     If Yes, when and where did you state or post your opinion?___________________________

9.   Before today, had you read, seen, or heard anything about criminal charges brought against
     Ms. Maxwell?                                                                                  Commented [A20]: The Government proposes the language in
                                                                                                   purple color font.
                           □ Yes                         □ No                                      Commented [A21R20]: DEFENDANT RESPONSE: The
                                                                                                   defense objects and incorporates by reference her response to the
     If yes, please state what you remember hearing, and how or from whom you may have heard       Government's objection to her "media" section questions above.
     (e.g., a friend, the newspaper, a website):


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                                                                      Juror ID: __________




10.   Aside from anything you may have read, seen, or heard about criminal charges brought
      against Ms. Maxwell, before today, had you read, seen, or heard anything about Ms.
      Maxwell?
                             □ Yes                           □ No
      If yes, please state what you remember hearing, and how or from whom you may have heard
      about Ms. Maxwell (e.g., a friend, the newspaper, a website):




11.   Based on anything that you have read, seen, or heard about Ms. Maxwell, including anything
      about criminal charges against Ms. Maxwell, have you formed any opinions about Ms.
      Maxwell that might make it difficult for you to be a fair and impartial juror in this case?
              □ Yes               □ No
              □ Not applicable, I have not read/seen/heard about Ms. Maxwell
      If yes, please explain why it might be difficult for you to be a fair and impartial juror in this
      case:




12.   Before today, had you read, seen, or heard anything about Jeffrey Epstein?
                             □ Yes                           □ No
      If yes, please state what you remember hearing, and how or from whom you may have heard
      (e.g., a friend, the newspaper, a website):




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13.   Based on anything that you have read, seen, or heard about Jeffrey Epstein, have you formed
      any opinions about Mr. Epstein that might make it difficult for you to be a fair and impartial
      juror in this case?
              □ Yes               □ No
              □ Not applicable, I have not read/seen/heard about Mr. Epstein
      If yes, please explain why it might be difficult for you to be a fair and impartial juror in this
      case:




14.   Based on anything you have read, seen, or heard about Ms. Maxwell, including anything
      about criminal charges brought against Ms. Maxwell, would you be able to follow the
      Court’s instruction to put that information out of your mind and decide this case based only
      on the evidence presented at trial?
              □ Yes               □ No
              □ Not applicable, I have not read/seen/heard about Ms. Maxwell
      If no, please explain:




             ________________________________________________________________________



      When you first learned about this case, what were your reactions?                                   Commented [A22]: GOVERNMENT OBJECTION: The
                                                                                                          Government objects to the next series of questions proposed by the
                                                                                                          defendant that are in green color font. The Government objects on
      __________________________________________________________________________                          the grounds that these questions would not provide a basis for a for-
                                                                                                          cause challenge and ask jurors to express opinions based on media
                                                                                                          coverage. If jurors have had reactions to media coverage, questions
      Have your reactions changed since then? □ Yes         □ No                                          about their ability to be fair and impartial will address any questions
                                                                                                          about their ability to serve as jurors. The proposed questions
                                                                                                          inappropriately ask jurors to deliberate based on media reporting.
      If Yes, please explain: _______________________________________________________                     Commented [A23R22]: DEFENDANT RESPONSE: The
                                                                                                          defense incorporates by reference her response to the Government's
                                                                                                          objection to her "media" related questions and the case law cited
      Have you formed any opinion about:                                                                  therein.




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       This Case □ Yes    □ No
       Ghislaine Maxwell □ Yes □ No

       Jeffrey Epstein □ Yes □ No

If Yes, please summarize your opinion: ________________________________________

Have you ever expressed an opinion about this case, Ghislaine Maxwell or Jeffrey Epstein?

       □ Yes □ No
If Yes, please summarize what you said:_______________________________________________

Based on what you have heard, seen, read, or discussed about this case, have you formed an
opinion about the guilt or innocence of Ghislaine Maxwell?

       □ Definitely Guilty        □ Probably Guilty        □ Probably Not Guilty
       □ Definitely Not Guilty □ Unsure/No Opinion □ Not enough information to
       decide

Please explain why you feel that way: ___________________________________________
__________________________________________________________________________

Have you been contacted in connection with a survey about this case?

       □ Yes □ No        If Yes, please explain: ___________________________________

Have you been involved in a focus group about this case?

       □ Yes □ No        If Yes, please explain: ___________________________________

Have you discussed this case with anyone working for the media? □ Yes □ No
If Yes, please explain what you discussed:
__________________________________________________________________________

__________________________________________________________________________
How much news have you read or watched about the current case?
       □ A lot □ A little □ None
When was the last time you read, saw, or heard anything related to this case? ____________




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                                                                    Juror ID: __________

      __________________________________________________________________________
      How accurate do you feel the reports about this case, in any medium, have been?
             □ Very accurate □ Somewhat accurate □ Not very accurate □ Not accurate
             □ Don’t know/No Opinion
      Do you think Ghislaine Maxwell’s association with Jeffrey Epstein will make it difficult for
      you fairly and impartially consider the evidence presented at trial and render a verdict based
      solely on the evidence?

             □ Yes □ No □ Unsure
      If Yes or Unsure, please explain: ________________________________________________

      If you are selected as a juror in this case, would you be able to refrain from reading about,
      listening to, or watching any print, electronic media, or Internet coverage in this case?
             □ Yes □ No □ Unsure
      If Yes or Unsure, please explain: ________________________________________________
15.   During the trial, you will hear evidence alleging sex crimes against underage girls. Some of
      the evidence in this case will involve sexually suggestive or sexually explicit conduct. Is
      there anything about the nature of this case and the accusations as summarized at the
      beginning of this questionnaire that might make it difficult for you to be a fair and impartial
      juror in this case?
                                □ Yes                       □ No
      If yes, please explain:




16.   Do you have any specific views or feelings concerning laws regarding the age at which
      individuals can or cannot consent to sexual activity with other individuals?                      Commented [A24]: The Government proposes the language in
                                                                                                        purple color font.
                                □ Yes                      □ No
      If yes, what are your views or opinions, and would they affect your ability to serve as a fair
      and impartial juror?




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17.   Do any of you have any opinion about the enforcement of the federal sex trafficking laws or
      the federal laws concerning sex crimes against minors that might prevent you from being fair
      and impartial in this case?
                                □ Yes                     □ No
      If yes, please explain:




18.   Have you or a family member ever lobbied, petitioned, or worked in any other manner for or
      against any laws or regulations relating to sex trafficking or sex crimes against minors?
                                □ Yes                     □ No
      If yes, please explain when and what you or your family member did:




      Whether reported or not, have you, any family member or anyone close to you, including a
      child/minor, ever been the victim of any form of sexual abuse? (This includes actual or
      attempted sexual assault or other unwanted sexual advance, including by a stranger,
      acquaintance, supervisor, teacher, or family member.)                                           Commented [A25]: GOVERNMENT OBJECTION: The
                                                                                                      Government objects to the next series of questions proposed by the
      □ Yes    □ No                                                                                   defendant that are in green color font. The Government objects on
                                                                                                      the grounds that these questions are inappropriate, argumentative,
                                                                                                      confusing, and excessively detailed. The defendant’s proposed
      If yes, please explain:_______________________________________________________                  questions are not streamlined in accordance with the Court’s Order.
                                                                                                      The Government submits that its proposed questions ask the jurors
                                                                                                      what is necessary on the subject but is not as unduly burdensome as
      _________________________________________________________________________                       the defendant’s proposal.

      Whether reported or not, have you, or anyone close to you, including a child/minor, ever felt   Commented [A26R25]: DEFENDANT RESPONSE: Juror's
                                                                                                      personal experiences (directly or indirectly through family members
      in danger of being sexually assaulted by another person, including a stranger, acquaintance,    and close friends) with sexual misconduct has significant potential to
      supervisor, teacher, or family member?                                                          bias their opinions towards Ms. Maxwell based on the allegations
                                                                                                      and evidence in this case. The privacy of a questionnaire affords an
      □ Yes    □ No                                                                                   opportunity to share these biases confidentially and candidly and
                                                                                                      best allow the parties to identify who cannot be a fair juror in this
                                                                                                      case or allows the Court to decide whether individual questioning of
      If yes, please explain: ________________________________________________________                that juror is appropriate, based on the sensitive nature of the content
                                                                                                      of the questions.

      __________________________________________________________________________
      Have you or anyone close to you ever participated in a class or discussion group, read books
      or articles listened to podcasts, or participated in blogs or chat rooms concerning sexual
      assault or sexual abuse? □ Yes □ No




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If Yes, please explain: ________________________________________________________
Have you ever made a claim of inappropriate sexual behavior of any kind (sexual
harassment, sexual contact, sexual abuse, or sexual assault/rape)? □ Yes □ No

If Yes, please explain: ________________________________________________________
Have you ever been accused of any inappropriate sexual behavior of any kind (sexual
harassment, sexual contact, sexual abuse, or sexual assault/rape)? □ Yes □ No

If Yes, please explain: ________________________________________________________
Has your spouse, significant other, any family member, friend, or co-worker ever made a
claim of sexual harassment, sexual contact, sexual abuse, or sexual assault/rape?

        □ Yes    □ No

If Yes, please explain: ________________________________________________________
Has your spouse, significant other, any family member, friend, or co-worker ever been
accused of sexual harassment, sexual contact, sexual abuse, or sexual assault/rape?

        □ Yes    □ No

If Yes, please explain: ________________________________________________________
Have you, any family members or close friends, ever suffered from post-traumatic stress
disorder as a result of inappropriate sexual behavior?

□ Yes    □ No □ Unsure

If Yes or Unsure, please explain the cause and, without using any names, identify who was
involved: __________________________________________________________________
Do you belong to any organizations or groups that have as one of the primary purposes,
advocating or promoting federal, state, or local legislation regarding sex abuse?

□ Yes    □ No

If Yes, please identify the organization or group ___________________________________
Are you active in the organization or group or its activities? □ Yes   □ No

If Yes, describe the extent of involvement and how often_____________________________

__________________________________________________________________________

Have you, any family member or close friend, ever worked or volunteered at any sex abuse
crisis center, sex abuse crisis hot line, sex abuse counseling center, or any related entity?
□ Yes   □ No

If Yes, please identify:________________________________________________________
Are you familiar with political movements in response to sexual abuse, including but not



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limited to #MeToo, #TimesUp?

□ Yes    □ No

If Yes, please explain: ________________________________________________________
Have you, your spouse, significant other, any family, friend, co-worker been involved in or
in any way supportive (financially, philosophically or politically) of organizations such as
#MeToo, #TimesUp?

□ Yes    □ No
If Yes, please explain: _______________________________________________________

__________________________________________________________________________
Have you ever attended a rally, fundraising event or other events concerning the treatment of
women who have been sexually assaulted?

□ Yes    □ No

If Yes, please explain: ________________________________________________________
Have you ever contributed money or volunteered time to groups or organizations concerned
with women’s issue, such as #MeToo, #TimesUp?
□ Yes    □ No

If Yes, please explain: ________________________________________________________
Have you or anyone you know had any contact with, worked for, volunteered with, used the
services of, or contributed to any entity providing support to individuals claiming to have
been sexually abused?
□ Yes    □ No

If Yes, please explain: _______________________________________________________

__________________________________________________________________________
This case involves allegations of sexual assault and sex trafficking of minors.

Would you feel uncomfortable if you are selected to sit on this case? □ Yes       □ No
If No, is there any experience that you or anyone close to you has had that may affect your
ability to listen to the evidence and reach a fair verdict based only on the evidence or lack of
evidence? □ Yes □ No

If Yes, please explain: ________________________________________________________
Is there any experience that you or anyone close to you has had that may affect how you
might view a case such as this □ Yes □ No

If Yes, please explain: ________________________________________________________



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                                                                     Juror ID: __________

      Do you believe that anyone who discloses having been sexually abused must be telling the
      truth? □ Yes □ No □ Unsure

      If Yes or Unsure, please explain: ________________________________________________
      Would you tend to believe the testimony of woman claiming sexual abuse more, less, or the
      same as any other witness?
      □ Believe more □ Believe less □ Believe the same □ Unsure
      Would you tend to believe the testimony of a defendant accused of sexual abuse more, less,
      or the same as any other witness?
      □ Believe more □ Believe less □ Believe the same □ Unsure
19.   Have you ever been involved—as defendant, victim, or any other way—in a case involving
      sex trafficking or sex crimes against minors?                                                      Commented [A27]: The Government proposes the language in
                                                                                                         purple color font.

                             □ Yes                          □ No

      If yes, without listing names, please explain the nature of the allegations, the approximate
      date(s), and the outcome, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:




20.   Has a relative, close friend, or associate ever been involved—as defendant, victim, or any
      other way—in a case involving sex trafficking or sex crimes against minors?

                             □ Yes                          □ No

      If yes, without listing names, please explain the nature of the allegations, the approximate
      date(s), and the outcome, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:




21.   Have you ever been the victim of sexual abuse of any nature?
                             □ Yes                          □ No

      If yes, please explain, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:



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                                                             Juror ID: __________




                  MENTAL HEALTH, LAW, LAW ENFORCEMENT                                          Commented [A28]: GOVERNMENT OBJECTION: The
                                                                                               defendant has proposed additional questions in this section in
                                                                                               addition to the questions proposed below on consent. The additional
Have you, your spouse or significant other, family or close friends ever studied or received   questions proposed by the defendant are duplicative, unnecessarily
any mental health training? □ Yes □ No                                                         burdensome, and overly detailed. In addition, questions about
                                                                                               experience with mental health issues are not designed to screen for
                                                                                               bias and are not appropriate for inclusion in a written questionnaire.
If Yes, please explain: ________________________________________________________
                                                                                               Commented [A29R28]: DEFENDANT RESPONSE: The
                                                                                               defense-proposed questions are designed to identify individuals
__________________________________________________________________________                     whose training, education and employment may cause the juror to
                                                                                               follow their own independent knowledge and not follow the
Have you ever had any employment or volunteer experience in any of the following areas?        evidence actually presented at trial, or may reveal biases in favor of
(Check each on that applies)                                                                   the Government.


       □ Psychiatry □ Psychology □ Social Work □ Mental Health
       □Therapy/Counseling □ Sex Abuse Counseling

Do you have any family or friends who are psychiatrists, psychologists, mental health
therapists/counselors or sex abuse counselors? □ Yes □ No
If Yes, do you often discuss their work with them? _________________________________

Have you received any training in law, law enforcement or criminology? □ Yes       □ No

If Yes, please explain: _______________________________________________________
Have you ever had any employment or done any volunteer work in any of the following
areas? (Check each one that applies to you)

       □ Law Enforcement      □ Investigations □ Corrections/Jail/Prison

       □ Legal Profession    □ Prosecution     □ Criminal Defense

       □ Justice System/Courts     □ Local/State/Federal Government

Do you have any family or friends who are in the legal or law enforcement profession?

       □ Yes    □ No
If Yes, do you often discuss their work with them? _________________________________

Would you believe the testimony of a law enforcement officer simply because he/she is a law
enforcement officer? □ Yes □ No

If yes, please explain: ________________________________________________________
Would you favor the side that had law enforcement officers as witnesses? □ Yes      □ No




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      If yes, please explain: ________________________________________________________
22.   Do you or any member of your family or a close friend work in law, law enforcement, the
      justice system, or the courts?
                             □ Yes                          □ No
      If yes, please explain, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:




23.   Do you know or have any association—professional, business, or social, direct or indirect—
      with any member of the staff of the United States Attorney’s Office for the Southern District
      of New York?
                             □ Yes                          □ No
      If yes, please explain, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:




24.   Do you know or have any association—professional, business, or social, direct or indirect—
      with the Federal Bureau of Investigation, commonly known as the FBI?
                             □ Yes                          □ No
      If yes, please explain, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:




25.   Do you know or have any association—professional, business, or social, direct or indirect—
      with the New York City Police Department, commonly known as the NYPD?
                             □ Yes                          □ No
      If yes, please explain, and indicate whether that would affect your ability to serve as a fair
      and impartial juror in this case:



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26.   Have you, either through any experience you have had or anything you have seen or read,
      developed any bias or prejudice or other feelings for or against the United States Department
      of Justice, the United States Attorney’s Office for the Southern District of New York, the
      FBI, or the NYPD?
                                □ Yes                     □ No
      If yes, please explain:




27.   Do you have any opinion of the U.S. Attorney’s Office for the Southern District of New
      York or the U.S. Attorney Damian Williams that might make it difficult for you to be a fair
      and impartial juror in this case?

                                □ Yes                     □ No

      If yes, please explain:




28.   Do you have any opinions about prosecutors or criminal defense attorneys generally that
      might make it difficult for you to be a fair and impartial juror in this case?

                                □ Yes                     □ No
      If yes, please explain:




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                                                                     Juror ID: __________


29.   Do you have any opinion about the criminal justice system generally or the federal criminal
      justice system in particular that might make it difficult for you to be a fair and impartial juror
      in this case?

                                □ Yes                        □ No
      If yes, please explain:




                                         CLOSING QUESTIONS                                                 Commented [A30]: GOVERNMENT OBJECTION: The
                                                                                                           Government objects to the questions proposed by the defendant in
      Do you think Ghislaine Maxwell’s association with Jeffrey Epstein will make it difficult for         the “Closing Questions” section. The Government does not believe
                                                                                                           these questions should be included in the written questionnaire
      you fairly and impartially consider the evidence presented at trial and render a verdict based       because these questions will not provide a basis for a for-cause
      solely on the evidence? □ Yes □ No □ Unsure                                                          challenge. Some of the questions proposed by the defendant are
                                                                                                           duplicative of prior questions. Many of the questions are
                                                                                                           inappropriate, argumentative, confusing, and excessively detailed.
      If Yes or Unsure, please explain: ________________________________________________
                                                                                                           Commented [A31R30]: DEFENDANT RESPONSE: The
      Do you think what you have heard, seen, and read about Ghislaine Maxwell make it difficult           questions are designed to identify persons for whom a for-cause
      for you fairly and impartially consider the evidence presented at trial and render a verdict         challenge may be sustained by this Court. The Government has not
      based solely on the evidence? □ Yes □ No □ Unsure                                                    identified any particular question that is "inappropriate,
                                                                                                           argumentative, confusing, and excessively detailed," nor have they
                                                                                                           proposed limiting language that would cure any such problem.
      If Yes or Unsure, please explain: ________________________________________________
      If you were a party to this case - either the prosecution or Ms. Maxwell - is there any reason
      you would not want yourself to be a juror? □ Yes □ No □ Unsure

      If Yes or Unsure, please explain: ________________________________________________
      Some people who are called for possible jury service want to be chosen while others do not.
      How do you personally feel? (Please check one.)

             □ Very strongly want to serve     □ Somewhat want to serve       □ Indifferent
             □ Opposed to serving □ Strongly opposed to serving          □ Would be difficult to serve

      Please explain your feelings: ___________________________________________________

      If you were convinced, at the conclusion of the trial, that Ms. Maxwell is either guilty or not
      guilty of the crimes charged, and a majority of the jurors disagreed with you, would you
      change your verdict simply because you were in the minority? □ Yes □ No □ Unsure

      If Yes or Unsure, please explain: ________________________________________________
      Is there anything that has come up in this questionnaire that creates doubt in your mind about
      whether you could be a fair, objective, and impartial juror in this particular case?
             □ Yes     □ No




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If yes, please explain: ________________________________________________________

Is there anything else the Court or the parties should know about you as a prospective juror
in this case? ________________________________________________________________
Please state any reason why you believe you could not or should not serve as a juror in this
case:

_________________________________________________________________________
Is there anything not covered in this questionnaire that you feel the Court of the attorneys
should know, so that your ability to be a fair and impartial juror can be evaluated?
        □ Yes    □ No

If yes, please explain:________________________________________________________
Do you believe you should not serve as a juror in this case? □ Yes     □ No □ Unsure

If Yes or Unsure, please explain: _______________________________________________

Do you believe you should serve as a juror in this case? □ Yes     □ No □ Unsure

If Yes or Unsure, please explain: ________________________________________________

Is there anything else that you think the Court or parties should know that might influence
your ability to fairly and impartially judge the evidence in this case and to apply the law as
instructed by the Court? □ Yes □ No □ Unsure

If Yes or Unsure, please explain: ________________________________________________
Is there anything that would cause you to not to want to sit on a jury in a case involving
allegation of sexual assault and sex trafficking of minors? □ Yes □ No □ Unsure

Is there anything about this case, Ms. Maxwell or Epstein that would cause you not to want
to be a juror in this case? □ Yes □ No □ Unsure

If Yes or Unsure, please explain: ________________________________________________

Is there anything about this case, Ms. Maxwell or Epstein that would cause you to want to be
a juror in this case? □ Yes □ No □ Unsure

If Yes or Unsure, please explain: ________________________________________________

Given the high-profile nature of this case and the sensitive nature of the charges, is there any
reason why you would feel pressure (personally, professionally, politically, philosophically,
or religiously) to return a verdict other than one based only on the evidence?
□ Yes    □ No □ Unsure

If Yes or Unsure, please explain: ________________________________________________




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                                                               Juror ID: __________

Is there anything about the subject matter of this case, or the points covered in this
questionnaire, which creates a question in your mind as to whether you could be a fair,
objective, and impartial juror in this particular case? □ Yes □ No
If Yes, please explain: ________________________________________________________

When the time comes for individual oral questioning of prospective jurors, you will have the
opportunity to discuss privately with the Court and the attorneys in the case any answers
which would require you to reveal information you feel is personal and private and which
you do not want to reveal publicly in open court. Would any of the questions above require
you to reveal confidential and personal information which you would like to keep private?
       □ Yes     □ No

If Yes, please list which question number(s): ______________________________________

Is there any matter you wish to discuss privately with the Judge? □ Yes       □ No

If Yes, please explain: ________________________________________________________

Is there anything else the attorneys or the Court might want to know about you when
considering you as a juror in this case? □ Yes □ No

If Yes, please explain: ________________________________________________________

As a juror it is important that you do not obtain information about this case outside of the
courtroom. The Court will instruct you that you are not to watch television, go on the
internet, read newspapers, magazines, or any other form of print media, listen to or watch
any media coverage, use social media, and/or speak to anyone regarding this case and that
the only evidence you are permitted to consider is that which is presented in court. Will you
be tempted to disregard this instruction? □ Yes □ No

If Yes, please explain: ________________________________________________________
If the court instructs you not to discuss the case with anyone until it is finally submitted to
you for deliberation at the end of the trial, and then to only discuss it with your fellow jurors
in the jury room, would you have difficulty in following that instruction? □ Yes □ No

If Yes, please explain: _______________________________________________




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                                                                Juror ID: __________




                                     DECLARATION


I, ___________________________ (juror number) declare under penalty of perjury that the
foregoing answers set forth in this Jury Questionnaire are true and correct to the best of my
knowledge and belief. I have not discussed my answers with others, or received assistance in
completing the questionnaire.

                                                   Signed this _____ day of November, 2021




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                                                               Juror ID: __________



You may use these pages to finish any answers that you could not fit in the spaces provided
above. If you write anything below, please indicate the number of the relevant question.




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                               Juror ID: __________




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                               Juror ID: __________




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